               Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 1 of 280 PageID #: 34

Exhibit 3 to the Complaint.




                          U.S. Patent No. 8,671,195 v. Roche Accu-Chek Guide Meter




                                                                                                   1
               Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 2 of 280 PageID #: 35

Exhibit 3 to the Complaint.



1. Claim Chart
      Claim                                                              Analysis
 [1.P] A digital Roche Diagnostics Corporation (“Company”) makes, uses, sells and/or offers to sell a digital media communication
 media           protocol.
 communication
 protocol,       This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 comprising:
                 For example, Company provides Accu-Chek Guide, a blood glucose meter designed to measure blood sugar levels. It
                 transmits the measured blood sugar levels to a mySugr app, installed on the user's smartphone, using Bluetooth wireless
                 technology ("digital media communication protocol").




                   Source: https://www.accu-chek.com/products/meters/guide




                                                                                                                                     2
               Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 3 of 280 PageID #: 36

Exhibit 3 to the Complaint.




                   Source: https://www.accu-chek.com/products/meters/guide




                   Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70



                                                                                                                             3
               Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 4 of 280 PageID #: 37

Exhibit 3 to the Complaint.




                   Source: https://www.accu-chek.com/support/products/guide




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               Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 5 of 280 PageID #: 38

Exhibit 3 to the Complaint.




                   Source: https://www.mysugr.com/en-us/




                                                                                                   5
               Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 6 of 280 PageID #: 39

Exhibit 3 to the Complaint.




                   Source: https://www.accu-chek.com/document/accu-chek-guide-quick-start-guide-2/download, Page 1 of 2




                                                                                                                          6
               Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 7 of 280 PageID #: 40

Exhibit 3 to the Complaint.




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09




                                                                                                   7
               Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 8 of 280 PageID #: 41

Exhibit 3 to the Complaint.




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




                                                                                                   8
               Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 9 of 280 PageID #: 42

Exhibit 3 to the Complaint.




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




                                                                                                   9
              Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 10 of 280 PageID #: 43

Exhibit 3 to the Complaint.




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29




                                                                                                   10
              Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 11 of 280 PageID #: 44

Exhibit 3 to the Complaint.




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




                                                                                                   11
              Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 12 of 280 PageID #: 45

Exhibit 3 to the Complaint.




                    Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43

                    Further, to the extent this element is performed at least in part by Defendant's software source code, Plaintiff shall
                    supplement these contentions pursuant to production of such source code by the Defendant.
 [1.1] at least one Company makes, uses, sells and/or offers to sell at least one media terminal disposed in an accessible relation to at least
 media terminal one interactive computer network.
 disposed in an
 accessible         This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 relation to at
 least          one

                                                                                                                                           12
               Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 13 of 280 PageID #: 46

Exhibit 3 to the Complaint.



 interactive
 computer          For example, the Accu-Chek Guide transmits the blood sugar levels to the mySugr app, installed on the user's smartphone
 network,          ("media terminal"), using Bluetooth network ("interactive computer network"). Since, the smartphone communicates
                   and sends data to the Accu-Chek Guide using Bluetooth, it is apparent for a person having ordinary skills in the art that,
                   the media terminal is disposed in an accessible relation with the Accu-Chek Guide using Bluetooth network.




                                                                      interactive
                                                                      computer
                                                                      network

                                                                    media
                                                                    terminal




                   Source: https://www.accu-chek.com/document/accu-chek-guide-quick-start-guide-2/download, Page 1 of 2 (annotated)




                                                                                                                                         13
              Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 14 of 280 PageID #: 47

Exhibit 3 to the Complaint.




                                                   interactive                                             media
                                                   computer                                                terminal
                                                   network



                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09 (annotated)




                                                                                                                      14
              Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 15 of 280 PageID #: 48

Exhibit 3 to the Complaint.




                                                       media
                                                       terminal




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17 (annotated)




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              Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 16 of 280 PageID #: 49

Exhibit 3 to the Complaint.




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




                                                                                                   16
              Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 17 of 280 PageID #: 50

Exhibit 3 to the Complaint.




                                                        media
                                                        terminal




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:17 (annotated)




                                                                                                     17
              Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 18 of 280 PageID #: 51

Exhibit 3 to the Complaint.




                   Source: https://www.accu-chek.com/support/products/guide




                                                                                                   18
               Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 19 of 280 PageID #: 52

Exhibit 3 to the Complaint.




                     Source: https://play.google.com/store/apps/details?id=com.mysugr.android.companion

                     Further, to the extent this element is performed at least in part by Defendant's software source code, Plaintiff shall
                     supplement these contentions pursuant to production of such source code by the Defendant.
 [1.2] a wireless
 range structured    Company makes, uses, sells and/or offers to sell a wireless range structured to permit authorized access to said at least
 to         permit   one interactive computer network.
 authorized
                     This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 access to
 said at least one   For example, the Accu-Chek Guide and the smartphone, on which the mySugr app is installed, are paired with each other
 interactive         using the Bluetooth network (“interactive computer network”). This network facilitates the pairing of the smartphone
 computer            and the Accu-Chek Guide when they are within Bluetooth range of each other. To complete the Bluetooth pairing, the
 network,            user is required to input the PIN of the Accu-Chek Guide into the mySugr app (“permit authorized access”). Therefore,
                     it would be apparent to a person of ordinary skill in the art that wireless range structured to permit authorized access to
                     at least one interactive computer network.




                                                                                                                                            19
              Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 20 of 280 PageID #: 53

Exhibit 3 to the Complaint.




                   Source: https://www.accu-chek.com/products/meters/guide




                   Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70



                                                                                                                             20
              Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 21 of 280 PageID #: 54

Exhibit 3 to the Complaint.




                   Source: https://www.accu-chek.com/support/products/guide




                                                                                                   21
              Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 22 of 280 PageID #: 55

Exhibit 3 to the Complaint.




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




                                                                                                   22
              Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 23 of 280 PageID #: 56

Exhibit 3 to the Complaint.




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




                                                                                                   23
              Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 24 of 280 PageID #: 57

Exhibit 3 to the Complaint.




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




                                                                                                   24
              Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 25 of 280 PageID #: 58

Exhibit 3 to the Complaint.




                                                                                                           authorized
                                                                                                           access




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29 (annotated)




                                                                                                                        25
              Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 26 of 280 PageID #: 59

Exhibit 3 to the Complaint.




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




                                                                                                   26
              Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 27 of 280 PageID #: 60

Exhibit 3 to the Complaint.




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43

                   Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                   supplement these contentions pursuant to the production of such source code by the Defendant.
 [1.3] at least one
 media        node Company makes, uses, sells and/or offers to sell at least one media node disposable within said wireless range, wherein
 disposable         said at least one media node is detectable by said at least one media terminal.
 within        said
                    This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 wireless



                                                                                                                                      27
              Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 28 of 280 PageID #: 61

Exhibit 3 to the Complaint.



 range, wherein
 said at least one For example, the Accu-Chek Guide ("media node") employs the Bluetooth network ("interactive computer network") to
 media node is pair with the mySugr app which is installed on the user's smartphone. The smartphone, on which the mySugr app is
 detectable        installed, detects the Accu-Chek Guides which are within its Bluetooth range.
 by said at least
 one        media
 terminal,

                                                                              media terminal




                                                                            media node




                   Source: https://www.accu-chek.com/products/mysugr (annotated)




                                                                                                                                28
              Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 29 of 280 PageID #: 62

Exhibit 3 to the Complaint.




                   Source: https://www.accu-chek.com/products/meters/guide




                                                                media
                                                                node




                   Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70
                   (annotated)

                                                                                                                       29
              Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 30 of 280 PageID #: 63

Exhibit 3 to the Complaint.




                   Source: https://www.accu-chek.com/document/accu-chek-guide-quick-start-guide-2/download, Page 1 of 2




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              Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 31 of 280 PageID #: 64

Exhibit 3 to the Complaint.




                                                           media
                                                           terminal




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12 (annotated)




                                                                                                     31
              Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 32 of 280 PageID #: 65

Exhibit 3 to the Complaint.




                                                        media
                                                        terminal




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:17 (annotated)




                                                                                                     32
              Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 33 of 280 PageID #: 66

Exhibit 3 to the Complaint.




                                                         media
                                                         terminal




                                                    media node is
                                                    detectable
                                                    by the media
                                                    terminal




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19 (annotated)




                                                                                                     33
              Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 34 of 280 PageID #: 67

Exhibit 3 to the Complaint.




                                                         media
                                                         terminal




                                                    media node is
                                                    detectable
                                                    by the media
                                                    terminal




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:25 (annotated)




                                                                                                     34
               Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 35 of 280 PageID #: 68

Exhibit 3 to the Complaint.




                    Source: https://www.accu-chek.com/support/products/guide

                    Further, to the extent this element is performed at least in part by Defendant's software source code, Plaintiff shall
                    supplement these contentions pursuant to production of such source code by the Defendant.
 [1.4] at least one Company makes, uses, sells and/or offers to sell at least one digital media file initially disposed on at least one of said at
 digital     media least one media terminal or said at least one media node, said at least one media terminal being structured to detect said
 file      initially at least one media node disposed within said wireless range.
 disposed on at

                                                                                                                                              35
               Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 36 of 280 PageID #: 69

Exhibit 3 to the Complaint.



 least one of said
 at least one        This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 media terminal
                     For example, the Accu-Chek Guide blood glucose meter is used to measures the blood sugar levels (“digital media file”).
 or said at least
                     These measured blood sugar levels are saved in the Accu-Chek Guide meter (“digital media file initially disposed on at
 one media node,
                     least one of said media terminal or said media node”). The mySugr app installed in the user’s smartphone detects (“at
 said at least one
                     least one media terminal being structured to detect said at least one media node”) the Accu-Chek Guide meter through
 media terminal
                     Bluetooth and establishes a connection (gets paired).
 being structured
 to detect said at
 least one media
 node disposed
 within       said
 wireless range,




                     Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 2 of 70




                                                                                                                                        36
              Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 37 of 280 PageID #: 70

Exhibit 3 to the Complaint.




                   Source: https://www.accu-chek.com/products/meters/guide




                                                                                                   37
              Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 38 of 280 PageID #: 71

Exhibit 3 to the Complaint.




                   Source: https://www.accu-chek.com/support/products/guide




                                                                                                   38
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Exhibit 3 to the Complaint.




                                                         media
                                                         terminal




                                                    media terminal
                                                    structured to detect
                                                    said at least
                                                    one media node




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19 (annotated)




                                                                                                     39
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Exhibit 3 to the Complaint.




                                                             media
                                                             terminal




                                                       media terminal
                                                       structured to detect
                                                       said at least
                                                       one media node




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:25 (annotated)

                   Further, to the extent this element is performed at least in part by Defendant's software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Defendant.
 [1.5]         a
 communication Company makes, uses, sells and/or offers to sell a communication link structured to dispose said at least one media
 link structured terminal and said at least one media node in a communicative relation with one another via said at least one interactive
 to dispose said computer network.
 at least one


                                                                                                                                     40
               Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 41 of 280 PageID #: 74

Exhibit 3 to the Complaint.



 media terminal
 and said at least    This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 one media node
                      For example, mySugr app installed on the user’s smartphone and Accu-Chek Guide establishes a connection through
 in a
                      Bluetooth pairing. This process creates a Bluetooth channel (“communication link structured to dispose”) between Accu-
 communicative
                      Chek Guide meter and mySugr app for the transfer of the measured blood sugar levels (“a communicative relation with
 relation      with
                      one another via said interactive computer network”).
 one another via
 said at least
 one interactive
 computer
 network,




                      Source: https://www.accu-chek.com/products/meters/guide




                                                                                                                                        41
              Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 42 of 280 PageID #: 75

Exhibit 3 to the Complaint.




                   Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




                                                                                                                             42
              Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 43 of 280 PageID #: 76

Exhibit 3 to the Complaint.




                   Source: https://www.accu-chek.com/support/products/guide




                                                                                                   43
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Exhibit 3 to the Complaint.




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09




                                                                                                   44
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Exhibit 3 to the Complaint.




                                                       media
                                                       terminal




                                                 media node




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17 (annotated)




                                                                                                           45
              Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 46 of 280 PageID #: 79

Exhibit 3 to the Complaint.




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




                                                                                                   46
              Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 47 of 280 PageID #: 80

Exhibit 3 to the Complaint.




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29




                                                                                                   47
              Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 48 of 280 PageID #: 81

Exhibit 3 to the Complaint.




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




                                                                                                   48
              Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 49 of 280 PageID #: 82

Exhibit 3 to the Complaint.




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43

                   Further, to the extent this element is performed at least in part by Defendant's software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Defendant.
 [1.6]        said Company makes, uses, sells and/or offers to sell said communication link being initiated by said at least one media
 communication terminal.
 link        being
 initiated by said This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 at least one
 media terminal,

                                                                                                                                     49
              Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 50 of 280 PageID #: 83

Exhibit 3 to the Complaint.




                   For example, the mySugr app, installed on the smartphone, initiates Bluetooth pairing to establish the communication
                   channel with the Accu-Chek Guide.




                   Source: https://www.accu-chek.com/support/products/guide




                                                                                                                                   50
              Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 51 of 280 PageID #: 84

Exhibit 3 to the Complaint.




                                                                                                           media
                                                                                                           terminal




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09 (annotated)




                                                                                                                      51
              Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 52 of 280 PageID #: 85

Exhibit 3 to the Complaint.




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




                                                                                                   52
              Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 53 of 280 PageID #: 86

Exhibit 3 to the Complaint.




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




                                                                                                   53
              Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 54 of 280 PageID #: 87

Exhibit 3 to the Complaint.




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29




                                                                                                   54
              Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 55 of 280 PageID #: 88

Exhibit 3 to the Complaint.




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




                                                                                                   55
              Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 56 of 280 PageID #: 89

Exhibit 3 to the Complaint.




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43

                   Further, to the extent this element is performed at least in part by Defendant's software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Defendant.
 [1.7] said at
 least one media Defendant makes, uses, sells and/or offers to sell said at least one media node and said at least one media terminal being
 node and said at structured to transmit said at least one digital media file therebetween via said communication link.
 least one media
                  This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 terminal being
 structured    to

                                                                                                                                       56
              Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 57 of 280 PageID #: 90

Exhibit 3 to the Complaint.



 transmit said at   For example, after establishing a Bluetooth channel (“communication link”) between the mySugr app installed on the
 least one          user’s smartphone and the Accu-Chek Guide, the Accu-Chek Guide (“media node") sends (“structured to transmit”) the
 digital   media    measured blood sugar levels (“at least one digital media file”) to the mySugr app installed on the user’s smartphone
 file               (“media terminal”).
 therebetween
 via         said
 communication
 link, and




                    Source: https://www.accu-chek.com/products/meters/guide




                                                                                                                                    57
              Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 58 of 280 PageID #: 91

Exhibit 3 to the Complaint.




                   Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




                                                                                                                             58
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Exhibit 3 to the Complaint.




                   Source: https://www.accu-chek.com/support/products/guide




                                                                                                   59
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Exhibit 3 to the Complaint.




                                                                                     media node
                                                                                     transmits digital
                                                                                     media file to
                                                                                     media terminal




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40 (annotated)




                                                                                                           60
              Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 61 of 280 PageID #: 94

Exhibit 3 to the Complaint.




                                                       media node
                                                       transmits digital
                                                       media file




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43 (annotated)

                   Further, to the extent this element is performed at least in part by Defendant's software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Defendant.
 [1.8]      said
 communication Company makes, uses, sells and/or offers to sell said said communication link is structured to bypass at least one media
 link         is terminal security measure.
 structured   to
 bypass at least
 one             This element is infringed literally, or in the alternative, under the doctrine of equivalents.

                                                                                                                                     61
              Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 62 of 280 PageID #: 95

Exhibit 3 to the Complaint.



 media terminal
 security       The Accu-Chek Guide meter and the mySugr app do not require users to input a PIN (“security measure”) every time
 measure.       they communicate. Instead, the PIN input is necessary during the initial pairing process, and thereafter, the devices
                automatically exchange data without requiring users to re-enter the PIN (“bypass at least one media terminal security
                measure”). Therefore, upon information and belief, the Bluetooth channel created between Accu-Chek Guide meter and
                mySugr app bypasses the security measure.




                   Source: https://www.accu-chek.com/products/meters/guide




                                                                                                                                 62
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                   Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




                                                                                                                             63
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                   Source: https://www.accu-chek.com/support/products/guide




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Exhibit 3 to the Complaint.




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09




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Exhibit 3 to the Complaint.




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




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             Case 2:23-cv-00585-JRG-RSP Document 1-3 Filed 12/11/23 Page 67 of 280 PageID #: 100

Exhibit 3 to the Complaint.




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




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Exhibit 3 to the Complaint.




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29




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Exhibit 3 to the Complaint.




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40

                   Further, to the extent this element is performed at least in part by Defendant's software source code, Plaintiff shall
                   supplement these contentions pursuant to the production of such source code by Defendant.
 [2] The digital Company makes, uses, sells and/or offers to sell said digital media file is initially disposed on said at least one media
 media            node.
 communication
 protocol recited This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 in
 claim 1 wherein



                                                                                                                                      69
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Exhibit 3 to the Complaint.



 said      digital
 media file is For example, the Accu-Chek Guide meter (“media node”) measures the blood sugar levels (“digital media file”). These
 initially         measured blood sugar levels are saved in the Accu-Chek Guide meter (“digital media file is initially disposed on said at
 disposed on said least one media node”).
 at least one
 media node.




                   Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 2 of 70




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Exhibit 3 to the Complaint.




                     Source: https://www.accu-chek.com/products/meters/guide

                     Further, to the extent this element is performed at least in part by Defendant's software source code, Plaintiff shall
                     supplement these contentions pursuant to production of such source code by the Defendant.
 [3] The digital     Company makes, uses, sells and/or offers to sell said at least one media terminal is structured to display said at least one
 media               digital media file.
 communication
 protocol recited    This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 in
 claim 2 wherein     For example, the mySugr app displays the measured blood sugar levels (“digital media file”).
 said at least one
 media terminal
 is structured to
 display said
 at least one
 digital    media
 file.



                     Source: https://www.accu-chek.com/products/meters/guide



                                                                                                                                             71
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                   Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




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Exhibit 3 to the Complaint.




                   Source: https://www.accu-chek.com/support/products/guide




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Exhibit 3 to the Complaint.




                   Source: https://www.accu-chek.com/products/mysugr




                   Source: https://www.mysugr.com/en-us/diabetes-app/




                                                                                                   74
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Exhibit 3 to the Complaint.




                                                                display
                                                                digital media
                                                                file




                                                                media
                                                                terminal


                     Source: https://www.mysugr.com/en-us/diabetes-app/ (annotated)

                     Further, to the extent this element is performed at least in part by Defendant's software source code, Plaintiff shall
                     supplement these contentions pursuant to production of such source code by the Defendant.
 [11] The digital    Company makes, uses, sells and/or offers to sell said at least one media node includes a portable device.
 media
 communication       This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 protocol recited
 in    claim     1   For example, the Accu-Chek Guide (“media node”), is a portable blood glucose meter designed to measure blood sugar
 wherein             levels.
 said at least one
 media       node
 includes        a
 portable device.




                                                                                                                                       75
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Exhibit 3 to the Complaint.




                                                                             media node




                   Source: https://www.accu-chek.com/products/mysugr (annotated)




                                                                                                   76
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                                                                 media node




                    Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 2 of 70
                    (annotated)



                    Further, to the extent this element is performed at least in part by Defendant's software source code, Plaintiff shall
                    supplement these contentions pursuant to production of such source code by the Defendant.
 [13] The digital   Company makes, uses, sells and/or offers to sell said communication link is structured to bypass at least one networking
 media              device security measure.
 communication
 protocol recited   This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 in
 claim 1 wherein    For example, the Accu-Chek Guide meter and the mySugr app do not require users to input a PIN (“security measure”)
 said               every time they communicate. Instead, the PIN input is necessary during the initial pairing process, and thereafter, the
 communication      devices automatically exchange data without requiring users to re-enter the PIN (“at least one networking device security


                                                                                                                                             77
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Exhibit 3 to the Complaint.



 link         is measure”). Therefore, upon information and belief, the Bluetooth channel created between Accu-Chek Guide meter and
 structured   to mySugr app bypasses the security measure.
 bypass at least
 one
 networking
 device security
 measure.




                   Source: https://www.accu-chek.com/products/meters/guide




                                                                                                                               78
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                   Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




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                   Source: https://www.accu-chek.com/support/products/guide




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Exhibit 3 to the Complaint.




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09




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Exhibit 3 to the Complaint.




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




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Exhibit 3 to the Complaint.




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




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Exhibit 3 to the Complaint.




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29




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Exhibit 3 to the Complaint.




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40

                   Further, to the extent this element is performed at least in part by Defendant's software source code, Plaintiff shall
                   supplement these contentions pursuant to the production of such source code by Defendant.
 [17.P] A digital Roche Diagnostics Corporation (“Company”) makes, uses, sells and/or offers to sell a digital media communication
 media            protocol.
 communication
 protocol,        This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 comprising




                                                                                                                                     85
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Exhibit 3 to the Complaint.



                   For example, Company provides Accu-Chek Guide, a blood glucose meter designed to measure blood sugar levels. It
                   transmits the measured blood sugar levels to a mySugr app, installed on the user's smartphone, using Bluetooth wireless
                   technology ("digital media communication protocol").




                   Source: https://www.accu-chek.com/products/meters/guide




                   Source: https://www.accu-chek.com/products/meters/guide




                                                                                                                                      86
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Exhibit 3 to the Complaint.




                   Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




                                                                                                                             87
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Exhibit 3 to the Complaint.




                   Source: https://www.accu-chek.com/support/products/guide

                   Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Defendant .




                                                                                                                                     88
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 [17.1] at least
 one        media   Company makes, uses, sells and/or offers to sell at least one media terminal and at least one media node disposed in an
 terminal and at    accessible relation with at least one interactive computer network.
 least one media
                    This element is infringed literally, or in the alternative, under the doctrine of equivalents.
 node
 disposed in an     For example, the Accu-Chek Guide ("media node") transmits the blood sugar levels to the mySugr app, installed on the
 accessible         user's smartphone ("media terminal"), using Bluetooth network ("interactive computer network"). Since, both devices
 relation with at   communicate and send data using Bluetooth, it is apparent for a person having ordinary skills in the art that, both devices
 least one inter    are disposed in an accessible relation with the Bluetooth network.
 active computer
 network,
                                                                                       media terminal




                                                                                     media node




                    Source: https://www.accu-chek.com/products/mysugr (annotated)




                                                                                                                                           89
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Exhibit 3 to the Complaint.




                   Source: https://www.accu-chek.com/products/meters/guide



                                                                             inter
                                                                             active
                                                                             computer
                                                                             network




                   Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70
                   (annotated)


                                                                                                                       90
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Exhibit 3 to the Complaint.




                   Source: https://www.accu-chek.com/document/accu-chek-guide-quick-start-guide-2/download, Page 1 of 2




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                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12




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Exhibit 3 to the Complaint.




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:17




                                                                                                   93
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Exhibit 3 to the Complaint.




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19




                                                                                                   94
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                    Source: https://www.accu-chek.com/support/products/guide

                    Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                    supplement these contentions pursuant to production of such source code by the Defendant.
 [17.2] at least
 one       digital Company makes, uses, sells and/or offers to sell at least one digital media file initially disposed on at least one of said
 media        file media terminal or said media node, said at least one media terminal structured to detect said at least one media node.
 initially
                   This element is infringed literally, or in the alternative, under the doctrine of equivalents.


                                                                                                                                          95
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 disposed on at
 least              For example, the Accu-Chek Guide meter measures the blood sugar levels (“digital media file”). These measured blood
 one of said        sugar levels are saved in the Accu-Chek Guide meter (“digital media file initially disposed on at least one of said media
 media terminal     terminal or said media node”). The mySugr app installed in the user’s smartphone detects (“at least one media terminal
 or said media      structured to detect said at least one media node”) the Accu-Chek Guide meter through Bluetooth and establishes a
 node, said at      connection (gets paired).
 least one media
 terminal
 structured    to
 detect said at
 least
 one media node,




                    Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 2 of 70




                                                                                                                                         96
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Exhibit 3 to the Complaint.




                   Source: https://www.accu-chek.com/products/meters/guide




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Exhibit 3 to the Complaint.




                   Source: https://www.accu-chek.com/support/products/guide




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                                                        media
                                                        terminal




                                                    media terminal
                                                    structured to detect
                                                    said at least
                                                    one media node




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19 (annotated)




                                                                                                     99
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                                                         media
                                                         terminal




                                                    media terminal
                                                    structured to detect
                                                    said at least
                                                    one media node




                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:25 (annotated)

                 Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                 supplement these contentions pursuant to production of such source code by the Defendant.
[17.3]        a
communication Company makes, uses, sells and/or offers to sell a communication link structured to dispose said at least one media
link structured terminal and said at least one media node in a communicative relation with one another via said interactive computer
to dispose said network.
at least one
                This element is infringed literally, or in the alternative, under the doctrine of equivalents.


                                                                                                                                  100
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media terminal
and said at least   For example, mySugr app installed on the user’s smartphone and Accu-Chek Guide establishes a connection through
one media node      Bluetooth pairing. This process creates a Bluetooth channel (“communication link structured to dispose”) between Accu-
in a                Chek Guide meter and mySugr app for the transfer of the measured blood sugar levels (“a communicative relation with
communicative       one another via said interactive computer network”).
relation    with
one another via
said inter
active computer
network,




                    Source: https://www.accu-chek.com/products/meters/guide




                                                                                                                                     101
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                Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




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                Source: https://www.accu-chek.com/support/products/guide




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                                                     137
Exhibit 3 to the Complaint.




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09




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                                                     138
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                                                   media
                                                   terminal




                                              media node




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17 (annotated)




                                                                                                        105
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                                                     139
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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




                                                                                                    106
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                                                     140
Exhibit 3 to the Complaint.




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29




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                                                     141
Exhibit 3 to the Complaint.




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




                                                                                                    108
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                                                     142
Exhibit 3 to the Complaint.




                  Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43

                  Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                  supplement these contentions pursuant to production of such source code by the Defendant.
[17.4]       said Company makes, uses, sells and/or offers to sell said communication link being initiated by said at least one media
communication terminal.
link        being
initiated by said This element is infringed literally, or in the alternative, under the doctrine of equivalents.
at least one
media terminal, For example, the mySugr app, installed on the smartphone, initiates Bluetooth pairing to establish the communication
                  channel with the Accu-Chek Guide.


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                Source: https://www.accu-chek.com/support/products/guide




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                                                     144
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                                                                                                        media
                                                                                                        terminal




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09 (annotated)




                                                                                                                   111
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                                                     145
Exhibit 3 to the Complaint.




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17 (annotated)




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                                                     146
Exhibit 3 to the Complaint.




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




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                                                     147
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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29




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                                                     148
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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




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Exhibit 3 to the Complaint.




                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43

                   Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Defendant.
[17.5] said at
least one media    Company makes, uses, sells and/or offers to sell said at least one media node and said at least one media terminal
node and said at   structured to transmit said at least one digital media file therebetween via said communication link.
least one media
                   This element is infringed literally, or in the alternative, under the doctrine of equivalents.
terminal
structured    to   For example, after establishing a Bluetooth channel (“communication link”) between the mySugr app installed on the
transmit said at   user’s smartphone and the Accu-Chek Guide, the Accu-Chek Guide (“media node") sends (“structured to transmit”) the

                                                                                                                                    116
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least one digital measured blood sugar levels (“at least one digital media file”) to the mySugr app installed on the user’s smartphone
media        file (“media terminal”).
therebetween
via         said
communication
link,
wherein




                  Source: https://www.accu-chek.com/products/meters/guide




                  Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70

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                Source: https://www.accu-chek.com/support/products/guide




                                                                                                    118
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                                                     152
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                                                                                media node
                                                                                transmits digital
                                                                                media file to
                                                                                media terminal




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40 (annotated)




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                                                    media node
                                                    transmits
                                                    digital media
                                                    file


                 Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43 (annotated)

                 Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                 supplement these contentions pursuant to production of such source code by the Defendant.
[17.6]     said
communication Company makes, uses, sells and/or offers to sell said communication link is structured to bypass at least one media
link         is terminal security measure.
structured   to
bypass at least
                This element is infringed literally, or in the alternative, under the doctrine of equivalents.
one


                                                                                                                                  120
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                                                     154
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media terminal The Accu-Chek Guide meter and the mySugr app do not require users to input a PIN (“security measure”) every
security       time they communicate. Instead, the PIN input is necessary during the initial pairing process, and thereafter, the
measure.       devices automatically exchange data without requiring users to re-enter the PIN (“bypassing the security measure”).
               Therefore, upon information and belief, the Bluetooth channel created between Accu-Chek Guide meter and mySugr
               app bypasses the security measure.




                  Source: https://www.accu-chek.com/products/meters/guide




                                                                                                                                 121
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                Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




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                Source: https://www.accu-chek.com/support/products/guide




                                                                                                    123
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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09




                                                                                                    124
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Exhibit 3 to the Complaint.




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




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Exhibit 3 to the Complaint.




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29




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                  Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40

                  Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                  supplement these contentions pursuant to the production of such source code by the Defendant.
[18] The digital
media            Company makes, uses, sells and/or offers to sell a wireless range structured to permit authorized access to said at least
communication one interactive computer network.
protocol recited
in claim 17
further          This element is infringed literally, or in the alternative, under the doctrine of equivalents.
comprising     a
wireless range

                                                                                                                                     128
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structured     to
permit              For example, the Accu-Chek Guide and the smartphone, on which the mySugr app is installed, are paired with each other
authorized          using the Bluetooth network (“interactive computer network”). This network facilitates the pairing of the smartphone
access to said at   and the Accu-Chek Guide when they are within Bluetooth range of each other. To complete the Bluetooth pairing, the
least        one    user is required to input the PIN (“permit authorized access”) of the Accu-Chek Guide into the mySugr app. It would be
interactive         apparent to a person of ordinary skill in the art that wireless range structured to permit authorized access to at least one
computer            interactive computer network.
network.




                    Source: https://www.accu-chek.com/products/meters/guide




                                                                                                                                           129
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                Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




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                Source: https://www.accu-chek.com/support/products/guide




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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




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                                                                                                        authorized
                                                                                                        access




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29 (annotated)




                                                                                                                     135
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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




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                  Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43

                 Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                 supplement these contentions pursuant to the production of such source code by the Defendant.
[19] The digital Company makes, uses, sells and/or offers to sell said at least one media node is disposable within said wireless range
media            and detectable by said at least one media terminal.
communication
protocol recited This element is infringed literally, or in the alternative, under the doctrine of equivalents.
in
claim         18 For example, the Accu-Chek Guide ("media node") employs the Bluetooth network ("interactive computer network") to
wherein          pair with the mySugr app which is installed on the user's smartphone. The smartphone, on which the mySugr app is


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said at least one installed, detects the Accu-Chek Guide which is within its Bluetooth range. It would be apparent to a person of ordinary
media node is skill in the art that at least one media node disposable within the wireless range.
disposable
within said
wireless range
and detectable
by said at least                                                                 media terminal
one media
terminal.



                                                                                media node




                  Source: https://www.accu-chek.com/products/mysugr (annotated)




                                                                                                                                     138
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                Source: https://www.accu-chek.com/products/meters/guide




                                                             media
                                                             node




                Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70
                (annotated)


                                                                                                                   139
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                Source: https://www.accu-chek.com/document/accu-chek-guide-quick-start-guide-2/download, Page 1 of 2




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                                                        media
                                                        terminal




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12 (annotated)




                                                                                                    141
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                                                     media
                                                     terminal




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:17 (annotated)




                                                                                                    142
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                                                      media
                                                      terminal




                                                 media node is
                                                 detectable
                                                 by the media
                                                 terminal




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19 (annotated)




                                                                                                    143
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                                                      media
                                                      terminal




                                                 media node is
                                                 detectable
                                                 by the media
                                                 terminal




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:25 (annotated)




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                  Source: https://www.accu-chek.com/support/products/guide

                 Further, to the extent this element is performed at least in part by Defendant's software source code, Plaintiff shall
                 supplement these contentions pursuant to production of such source code by the Defendant.
[21.P] A digital Roche Diagnostics Corporation (“Company”) makes, uses, sells and/or offers to sell a digital media communication
media            protocol.
communication
protocol,        This element is infringed literally, or in the alternative, under the doctrine of equivalents.
comprising:

                                                                                                                                  145
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                For example, Company provides Accu-Chek Guide, a blood glucose meter designed to measure blood sugar levels. It
                transmits the measured blood sugar levels to a mySugr app, installed on the user's smartphone, using Bluetooth wireless
                technology ("digital media communication protocol").




                Source: https://www.accu-chek.com/products/meters/guide




                Source: https://www.accu-chek.com/products/meters/guide




                                                                                                                                  146
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                Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




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                Source: https://www.accu-chek.com/support/products/guide




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                Source: https://www.mysugr.com/en-us/




                Source: https://www.accu-chek.com/document/accu-chek-guide-quick-start-guide-2/download, Page 1 of 2




                                                                                                                       149
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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09




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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29




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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




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                                                     188
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                  Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43

                 Further, to the extent this element is performed at least in part by Defendant's software source code, Plaintiff shall
                 supplement these contentions pursuant to production of such source code by the Defendant.
[21.1] at least Company makes, uses, sells and/or offers to sell at least one media terminal disposed in an accessible relation to at least
one        media one interactive computer network.
terminal
disposed in an This element is infringed literally, or in the alternative, under the doctrine of equivalents.
accessible
relation to at For example, the Accu-Chek Guide transmits the blood sugar levels to the mySugr app, installed on the user's smartphone
least       one ("media terminal"), using Bluetooth network ("interactive computer network"). Since, the smartphone communicates

                                                                                                                                      155
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interactive     and sends data to the Accu-Chek Guide using Bluetooth, it is apparent for a person having ordinary skills in the art that,
computer        the media terminal is disposed in an accessible relation with the Accu-Chek Guide using Bluetooth network.
network,




                                                                   interactive
                                                                   computer
                                                                   network

                                                                 media
                                                                 terminal




                Source: https://www.accu-chek.com/document/accu-chek-guide-quick-start-guide-2/download, Page 1 of 2 (annotated)




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                                                interactive                                             media
                                                computer                                                terminal
                                                network



                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09 (annotated)




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                                                    media
                                                    terminal




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17 (annotated)




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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




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                                                     media
                                                     terminal




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:17 (annotated)




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                Source: https://www.accu-chek.com/support/products/guide




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                    Source: https://play.google.com/store/apps/details?id=com.mysugr.android.companion

                    Further, to the extent this element is performed at least in part by Defendant's software source code, Plaintiff shall
                    supplement these contentions pursuant to production of such source code by the Defendant.
[21.2] a wireless
range structured    Company makes, uses, sells and/or offers to sell a wireless range structured to permit authorized access to said at least
to         permit   one interactive computer network.
authorized
                    This element is infringed literally, or in the alternative, under the doctrine of equivalents.
access to
said at least one   For example, the Accu-Chek Guide and the smartphone, on which the mySugr app is installed, are paired with each other
interactive         using the Bluetooth network (“interactive computer network”). This network facilitates the pairing of the smartphone
computer            and the Accu-Chek Guide when they are within Bluetooth range of each other. To complete the Bluetooth pairing, the
network,            user is required to input the PIN (“permit authorized access”) of the Accu-Chek Guide into the mySugr app. It would be
                    apparent to a person of ordinary skill in the art that wireless range structured to permit authorized access to at least one
                    interactive computer network.




                                                                                                                                           162
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                Source: https://www.accu-chek.com/products/meters/guide




                Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70



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                Source: https://www.accu-chek.com/support/products/guide




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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




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                                                                                                        authorized
                                                                                                        access




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29 (annotated)




                                                                                                                     168
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Exhibit 3 to the Complaint.




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




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                  Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43

                  Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                  supplement these contentions pursuant to the production of such source code by the Defendant.
[21.3] at least Company makes, uses, sells and/or offers to sell at least one media node disposable within said wireless range, said
one media node media node including a portable device being detectable by said at least one media terminal.
disposed within
said wireless     This element is infringed literally, or in the alternative, under the doctrine of equivalents.
range,       said
media       node For example, the Accu-Chek Guide ("media node") is portable device which employs the Bluetooth network ("interactive
including       a computer network") to pair with the mySugr app which is installed on the user's smartphone. The smartphone, on which

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portable device the mySugr app is installed, detects the Accu-Chek Guides which is within its Bluetooth range. It would be apparent to
being             a person of ordinary skill in the art that at least one media node disposable within the wireless range.
detectable     by
said at least one
media terminal,

                                                                               media terminal




                                                                             media node




                  Source: https://www.accu-chek.com/products/mysugr (annotated)




                                                                                                                                 171
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                Source: https://www.accu-chek.com/products/meters/guide




                                                             media
                                                             node




                Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70
                (annotated)


                                                                                                                   172
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                Source: https://www.accu-chek.com/document/accu-chek-guide-quick-start-guide-2/download, Page 1 of 2




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                                                        media
                                                        terminal




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12 (annotated)




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                                                     media
                                                     terminal




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:17 (annotated)




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                                                      media
                                                      terminal




                                                 media node is
                                                 detectable
                                                 by the media
                                                 terminal




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19 (annotated)




                                                                                                    176
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                                                      media
                                                      terminal




                                                 media node is
                                                 detectable
                                                 by the media
                                                 terminal




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:25 (annotated)




                                                                                                    177
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                   Source: https://www.accu-chek.com/support/products/guide

                  Further, to the extent this element is performed at least in part by Defendant's software source code, Plaintiff shall
                  supplement these contentions pursuant to production of such source code by the Defendant.
[21.4] at least Company makes, uses, sells and/or offers to sell at least one digital media file initially disposed on at least one of said at
one       digital least one media terminal or said at least one media node, said at least one media terminal structured to detect said at least
media        file one media node.
disposed on at
least one of      This element is infringed literally, or in the alternative, under the doctrine of equivalents.


                                                                                                                                          178
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said at least one
media terminal      For example, the Accu-Chek Guide blood glucose meter is used to measures the blood sugar levels (“digital media file”).
or said at least    These measured blood sugar levels are saved in the Accu-Chek Guide meter (“digital media filedisposed on at least one
one media           of said at least one media terminal or said media node”). The mySugr app installed in the user’s smartphone detects (“at
node, said at       least one media terminal structured to detect said at least one media node”) the Accu-Chek Guide meter through
least one media     Bluetooth and establishes a connection (gets paired).
terminal
structured to
detect said at
least one media
node,




                    Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 2 of 70




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                Source: https://www.accu-chek.com/products/meters/guide




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                Source: https://www.accu-chek.com/support/products/guide




                                                                                                    181
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                                                      media
                                                      terminal




                                                 media terminal
                                                 structured to detect
                                                 said at least
                                                 one media node




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19 (annotated)




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                                                           media
                                                           terminal




                                                      media terminal
                                                      structured to detect
                                                      said at least
                                                      one media node




                  Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:25 (annotated)

                Further, to the extent this element is performed at least in part by Defendant's software source code, Plaintiff shall
                supplement these contentions pursuant to production of such source code by the Defendant.
[21.5]        a Company makes, uses, sells and/or offers to sell a communication link structured to dispose said at least one media
communication terminal and said at least one media node in a communicative relation with one another via said interactive computer
link structured network.
to dispose said
at least one    This element is infringed literally, or in the alternative, under the doctrine of equivalents.



                                                                                                                                 183
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media terminal      For example, mySugr app installed on the user’s smartphone and Accu-Chek Guide establishes a connection through
and said at least   Bluetooth pairing. This process creates a Bluetooth channel (“communication link structured to dispose”) between Accu-
one media node      Chek Guide meter and mySugr app for the transfer of the measured blood sugar levels (“a communicative relation with
in a                one another via said interactive computer network”).
communicative
relation    with
one another via
said inter
active computer
network,




                    Source: https://www.accu-chek.com/products/meters/guide




                                                                                                                                     184
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                Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




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                Source: https://www.accu-chek.com/support/products/guide




                                                                                                    186
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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09




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                                                    media
                                                    terminal




                                              media node




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17 (annotated)




                                                                                                        188
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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29




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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




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                  Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43

                  Further, to the extent this element is performed at least in part by Defendant's software source code, Plaintiff shall
                  supplement these contentions pursuant to production of such source code by the Defendant.
[21.6]       said Company makes, uses, sells and/or offers to sell said communication link being initiated by said at least one media
communication terminal.
link        being
initiated by said This element is infringed literally, or in the alternative, under the doctrine of equivalents.
at least one
media terminal, For example, the mySugr app, installed on the smartphone, initiates Bluetooth pairing to establish the communication
                  channel with the Accu-Chek Guide.


                                                                                                                                   192
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                Source: https://www.accu-chek.com/support/products/guide




                                                                                                    193
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                                                                                                        media
                                                                                                        terminal




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09 (annotated)




                                                                                                                   194
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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29




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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




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                   Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43

                   Further, to the extent this element is performed at least in part by Defendant's software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Defendant.
[21.7] said at
least one digital Defendant makes, uses, sells and/or offers to sell said at least one digital media file structured to be selectively transmitted
media        file between said at least one media node and said at least one media terminal.
structured to be
                  This element is infringed literally, or in the alternative, under the doctrine of equivalents.
selectively
transmitted
between said at

                                                                                                                                             199
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least one media For example, after establishing a Bluetooth channel between the mySugr app installed on the user’s smartphone and the
node              Accu-Chek Guide, the Accu-Chek Guide (“media node") sends the measured blood sugar levels (“at least one digital
and said at least media file”) to the mySugr app installed on the user’s smartphone (“media terminal”).
one       media
terminal,
wherein




                 Source: https://www.accu-chek.com/products/meters/guide




                                                                                                                                200
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                Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




                Source: https://www.accu-chek.com/support/products/guide




                                                                                                                          201
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                                                                                  media node
                                                                                  transmits digital
                                                                                  media file to
                                                                                  media terminal




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40 (annotated)




                                                                                                        202
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                                                     media node
                                                     transmits digital
                                                     media file




                  Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43 (annotated)

                Further, to the extent this element is performed at least in part by Defendant's software source code, Plaintiff shall
                supplement these contentions pursuant to production of such source code by the Defendant.
[21.8]     said Company makes, uses, sells and/or offers to sell said communication link is structured to bypass at least one media
communication terminal security measure.
link         is
structured   to This element is infringed literally, or in the alternative, under the doctrine of equivalents.
bypass at least
one             The Accu-Chek Guide meter and the mySugr app do not require users to input a PIN (“security measure”) every time
                they communicate. Instead, the PIN input is necessary during the initial pairing process, and thereafter, the devices

                                                                                                                                 203
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media terminal automatically exchange data without requiring users to re-enter the PIN (“bypass at least one media terminal security
security       measure”). Therefore, upon information and belief, the Bluetooth channel created between Accu-Chek Guide meter and
measure.       mySugr app bypasses the security measure.




                 Source: https://www.accu-chek.com/products/meters/guide




                                                                                                                               204
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                Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




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                Source: https://www.accu-chek.com/support/products/guide




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Exhibit 3 to the Complaint.




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09




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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29




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                  Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40

                 Further, to the extent this element is performed at least in part by Defendant's software source code, Plaintiff shall
                 supplement these contentions pursuant to the production of such source code by Defendant.
[22] The digital Company makes, uses, sells and/or offers to sell said communication link is structured to bypass at least one
media            wireless range security measure.
communication
protocol recited This element is infringed literally, or in the alternative, under the doctrine of equivalents.
in
claim         21 The Accu-Chek Guide meter and the mySugr app do not require users to input a PIN (“security measure”) every time
wherein          they communicate. Instead, the PIN input is necessary during the initial pairing process, and thereafter, the devices
                 automatically exchange data without requiring users to re-enter the PIN (“bypass at least one wireless range security

                                                                                                                                  211
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said            measure”). Therefore, upon information and belief, the Bluetooth channel created between Accu-Chek Guide meter and
communication mySugr app bypasses the security measure.
link         is
structured   to
bypass at least
one
wireless range
security
measure.




                 Source: https://www.accu-chek.com/products/meters/guide




                                                                                                                             212
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                Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




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                Source: https://www.accu-chek.com/support/products/guide




                                                                                                    214
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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09




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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29




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                  Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40

                 Further, to the extent this element is performed at least in part by Defendant's software source code, Plaintiff shall
                 supplement these contentions pursuant to the production of such source code by Defendant.
[23.P] A digital Roche Diagnostics Corporation (“Company”) makes, uses, sells and/or offers to sell a digital media communication
media            protocol.
communication
protocol,        This element is infringed literally, or in the alternative, under the doctrine of equivalents.
comprising:
                 For example, Company provides Accu-Chek Guide, a blood glucose meter designed to measure blood sugar levels. It
                 transmits the measured blood sugar levels to a mySugr app, installed on the user's smartphone, using Bluetooth wireless
                 technology ("digital media communication protocol").

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Exhibit 3 to the Complaint.




                Source: https://www.accu-chek.com/products/meters/guide




                Source: https://www.accu-chek.com/products/meters/guide




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                Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




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                Source: https://www.accu-chek.com/support/products/guide




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                Source: https://www.mysugr.com/en-us/




                Source: https://www.accu-chek.com/document/accu-chek-guide-quick-start-guide-2/download, Page 1 of 2




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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09




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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29




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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




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                  Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43

                 Further, to the extent this element is performed at least in part by Defendant's software source code, Plaintiff shall
                 supplement these contentions pursuant to production of such source code by the Defendant.
[23.1] at least Company makes, uses, sells and/or offers to sell at least one media terminal disposed in an accessible relation to at least
one        media one interactive computer network.
terminal
disposed in an This element is infringed literally, or in the alternative, under the doctrine of equivalents.
accessible
relation to at For example, the Accu-Chek Guide transmits the blood sugar levels to the mySugr app, installed on the user's smartphone
least       one ("media terminal"), using Bluetooth network ("interactive computer network"). Since, the smartphone communicates

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interactive     and sends data to the Accu-Chek Guide using Bluetooth, it is apparent for a person having ordinary skills in the art that,
computer        the media terminal is disposed in an accessible relation with the Accu-Chek Guide using Bluetooth network.
network,




                                                                   interactive
                                                                   computer
                                                                   network

                                                                 media
                                                                 terminal




                Source: https://www.accu-chek.com/document/accu-chek-guide-quick-start-guide-2/download, Page 1 of 2 (annotated)




                                                                                                                                     230
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                                                interactive                                             media
                                                computer                                                terminal
                                                network



                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09 (annotated)




                                                                                                                   231
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                                                    media
                                                    terminal




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17 (annotated)




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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




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                                                     media
                                                     terminal




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:17 (annotated)




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                Source: https://www.accu-chek.com/support/products/guide




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                    Source: https://play.google.com/store/apps/details?id=com.mysugr.android.companion

                    Further, to the extent this element is performed at least in part by Defendant's software source code, Plaintiff shall
                    supplement these contentions pursuant to production of such source code by the Defendant.
[23.2] a wireless
range structured    Company makes, uses, sells and/or offers to sell a wireless range structured to permit authorized access to said at least
to         permit   one interactive computer network.
authorized
                    This element is infringed literally, or in the alternative, under the doctrine of equivalents.
access to
said at least one   For example, the Accu-Chek Guide and the smartphone, on which the mySugr app is installed, are paired with each other
interactive         using the Bluetooth network (“interactive computer network”). This network facilitates the pairing of the smartphone
computer            and the Accu-Chek Guide when they are within Bluetooth range of each other. To complete the Bluetooth pairing, the
network,            user is required to input the PIN (“authorized access”) of the Accu-Chek Guide into the mySugr app. It would be apparent
                    to a person of ordinary skill in the art that wireless range structured to permit authorized access to at least one interactive
                    computer network.




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                Source: https://www.accu-chek.com/products/meters/guide




                Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70



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                Source: https://www.accu-chek.com/support/products/guide




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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




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Exhibit 3 to the Complaint.




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




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                                                                                                        authorized
                                                                                                        access




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29 (annotated)




                                                                                                                     242
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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




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                  Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43

                  Further, to the extent this element is performed at least in part by Defendant’s software source code, Plaintiff shall
                  supplement these contentions pursuant to the production of such source code by the Defendant.
[23.3] at least Company makes, uses, sells and/or offers to sell at least one media node disposed within said wireless range, wherein
one media node said at least one media node is detectable by said at least one media terminal.
disposed within
said wireless     This element is infringed literally, or in the alternative, under the doctrine of equivalents.
range, wherein
said at least one For example, the Accu-Chek Guide ("media node") is portable device which employs the Bluetooth network ("interactive
                  computer network") to pair with the mySugr app which is installed on the user's smartphone. The Accu-Chek Guide is

                                                                                                                                   244
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media node is within the Bluetooth range of the smartphone where the mySugr app is installed. The smartphone, on which the mySugr
detectable       app is installed, detects the Accu-Chek Guides which are within its Bluetooth range. It would be apparent to a person of
by said at least ordinary skill in the art that at least one media node disposable within the wireless range.
one        media
terminal,

                                                                                 media terminal




                                                                               media node




                  Source: https://www.accu-chek.com/products/mysugr (annotated)




                                                                                                                                    245
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                Source: https://www.accu-chek.com/products/meters/guide




                                                             media
                                                             node




                Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70
                (annotated)


                                                                                                                   246
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                Source: https://www.accu-chek.com/document/accu-chek-guide-quick-start-guide-2/download, Page 1 of 2




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                                                        media
                                                        terminal




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12 (annotated)




                                                                                                    248
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                                                     media
                                                     terminal




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:17 (annotated)




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                                                      media
                                                      terminal




                                                 media node is
                                                 detectable
                                                 by the media
                                                 terminal




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19 (annotated)




                                                                                                    250
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                                                      media
                                                      terminal




                                                 media node is
                                                 detectable
                                                 by the media
                                                 terminal




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:25 (annotated)




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                   Source: https://www.accu-chek.com/support/products/guide

                   Further, to the extent this element is performed at least in part by Defendant's software source code, Plaintiff shall
                   supplement these contentions pursuant to production of such source code by the Defendant.
[23.4] at least
one        digital Company makes, uses, sells and/or offers to sell at least one digital media file disposed on said at least one media node,
media         file said at least one media terminal being structured to detect said at least one media node.
disposed on said
                   This element is infringed literally, or in the alternative, under the doctrine of equivalents.
at least one

                                                                                                                                        252
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media       node,
said at least one   For example, the Accu-Chek Guide blood glucose meter is used to measures the blood sugar levels (“digital media file”).
media terminal      These measured blood sugar levels are saved in the Accu-Chek Guide meter (“digital media file disposed on said at least
being structured    one media node”). The mySugr app installed in the user’s smartphone detects (“at least one media terminal being
to detect said at   structured to detect said at least one media node”) the Accu-Chek Guide meter through Bluetooth and establishes a
least one media     connection (gets paired).
node,




                    Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 2 of 70




                                                                                                                                      253
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                Source: https://www.accu-chek.com/products/meters/guide




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                Source: https://www.accu-chek.com/support/products/guide




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                                                      media
                                                      terminal




                                                 media terminal
                                                 structured to detect
                                                 said at least
                                                 one media node




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19 (annotated)




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                                                           media
                                                           terminal




                                                      media terminal
                                                      structured to detect
                                                      said at least
                                                      one media node




                  Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:25 (annotated)

                Further, to the extent this element is performed at least in part by Defendant's software source code, Plaintiff shall
                supplement these contentions pursuant to production of such source code by the Defendant.
[23.5]        a Company makes, uses, sells and/or offers to sell a communication link structured to dispose said at least one media
communication terminal and said at least one media node in a communicative relation with one another via said at least one interactive
link structured computer network.
to dispose said
at least one    This element is infringed literally, or in the alternative, under the doctrine of equivalents.



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media terminal       For example, mySugr app installed on the user’s smartphone and Accu-Chek Guide establishes a connection through
and said at least    Bluetooth pairing. This process creates a Bluetooth channel (“communication link structured to dispose”) between Accu-
one media node       Chek Guide meter and mySugr app for the transfer of the measured blood sugar levels (“a communicative relation with
in a                 one another via said interactive computer network”).
communicative
relation      with
one another via
said at least
one interactive
computer
network,




                     Source: https://www.accu-chek.com/products/meters/guide




                                                                                                                                      258
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                Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




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                Source: https://www.accu-chek.com/support/products/guide




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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09




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                                                    media
                                                    terminal




                                              media node




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17 (annotated)




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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29




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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




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                  Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43

                  Further, to the extent this element is performed at least in part by Defendant's software source code, Plaintiff shall
                  supplement these contentions pursuant to production of such source code by the Defendant.
[23.6]       said Company makes, uses, sells and/or offers to sell said communication link being initiated by said at least one media
communication terminal and structured to bypass at least one media terminal security measure.
link        being
initiated by said This element is infringed literally, or in the alternative, under the doctrine of equivalents.
at least one
media terminal For example, the mySugr app, installed on the smartphone, initiates Bluetooth pairing to establish the communication
and structured channel with the Accu-Chek Guide. The Accu-Chek Guide meter and the mySugr app do not require users to input a

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to bypass at     PIN (“security measure”) every time they communicate. Instead, the PIN input is necessary during the initial pairing
least one        process, and thereafter, the devices automatically exchange data without requiring users to re-enter the PIN (“bypass at
media terminal   least one media terminal security measure”). Therefore, upon information and belief, the Bluetooth channel created
security         between Accu-Chek Guide meter and mySugr app bypasses the security measure.
measure,




                 Source: https://www.accu-chek.com/products/meters/guide




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                Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




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                Source: https://www.accu-chek.com/support/products/guide




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                                                                                                        media
                                                                                                        terminal




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:07, 0:09 (annotated)




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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:12, 0:17




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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:19, 0:25




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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:26, 0:29




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                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40




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                  Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43

                  Further, to the extent this element is performed at least in part by Defendant's software source code, Plaintiff shall
                  supplement these contentions pursuant to production of such source code by the Defendant.
[23.7]       said
media       node Company makes, uses, sells and/or offers to sell said media node structured to transmit said at least one digital media
structured     to file to said media terminal via said communication link.
transmit said at
                  This element is infringed literally, or in the alternative, under the doctrine of equivalents.
least one
digital    media
file to said

                                                                                                                                   275
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media terminal For example, after establishing a Bluetooth channel between the mySugr app installed on the user’s smartphone and the
via       said Accu-Chek Guide, the Accu-Chek Guide (“media node") sends the measured blood sugar levels (“at least one digital
communication media file”) to the mySugr app installed on the user’s smartphone (“media terminal”).
link.




                 Source: https://www.accu-chek.com/products/meters/guide




                                                                                                                               276
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                Source: https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, Page 63 of 70




                Source: https://www.accu-chek.com/support/products/guide




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                                                                                  media node
                                                                                  transmits digital
                                                                                  media file to
                                                                                  media terminal




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:38, 0:40 (annotated)




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                                                    media node
                                                    transmits digital
                                                    media file




                Source: https://www.youtube-nocookie.com/embed/EByD_P5-j0g, at 0:43 (annotated)

                Further, to the extent this element is performed at least in part by Defendant's software source code, Plaintiff shall
                supplement these contentions pursuant to production of such source code by the Defendant.




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2. List of References

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   2.   https://www.youtube-nocookie.com/embed/EByD_P5-j0g, last accessed on November 16, 2023.
   3.   https://www.accu-chek.com/products/mysugr, last accessed on November 16, 2023.
   4.   https://www.accu-chek.com/support/products/guide, last accessed on November 16, 2023.
   5.   https://www.accu-chek.com/document/accu-chek-guide-quick-start-guide-2/download , last accessed on November 16, 2023.
   6.   https://www.accu-chek.com/document/accu-chek-guide-meter-manual-english/download, last accessed on November 16, 2023.




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